     Case 8:15-cv-02034-JVS-JCG Document 1088 Filed 01/08/21 Page 1 of 7 Page ID
                                     #:72609



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7    Attorneys for Plaintiff

8
9                   IN THE UNITED STATES DISTRICT COURT

10               FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12   NATURAL-IMMUNOGENICS                 Case No. 8:15-cv-02034-JVS (JCG)
13   CORP.,
                                          STIPULATED JOINT TRIAL
14                      Plaintiff,        SCHEDULE
15         v.                             [SUBMITTED PER COURT ORDER,
                                          DKT. 1086]
16   PACIFIC TRIAL ATTORNEYS, et
17   al.,
                                          Judge:          Hon. James V. Selna
18
                       Defendants.        Special Master: Hon. Andrew Guilford
19
                                                          (Ret.)

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     Case 8:15-cv-02034-JVS-JCG Document 1088 Filed 01/08/21 Page 2 of 7 Page ID
                                     #:72610



1          All parties, including Plaintiff Natural Immunogenics Corp. (“NIC”), and
2    Defendants Newport Trial Group, Scott Ferrell, David Reid, Andrew Baslow,
3    Victoria Knowles, Ryan Ferrell, Andrew Baslow, Andrew Nilon, Giovanni
4    Sandoval, Sam Schoonover, Matt Dronkers, Sam Pfleg, and Taylor Demulder, by
5    their respective counsel, hereby jointly submit the following stipulated trial
6    schedule per this Court’s order in Dkt. 1086.
7          On December 22, 2020, this Court ordered the parties to file a stipulation
8    with a proposed schedule for the jury trial in this matter. See Dkt. 1086. The
9    Court instructed the parties to specify a trial date “no earlier than October 1,
10   2021[.]” Id. The parties met and conferred and submit the following schedule for
11   the Court’s consideration. The parties have agreed to a tentative trial date for
12   November 1, 2021, subject to the Court’s availability. To the extent this Court is
13   unavailable for trial on November 1, 2021, the parties’ request that the Court set a
14   schedule consistent with the timelines featured in brackets below, which were
15   calculated based on the proposed November 1, 2021 trial date.
16         NIC counsel has an immovable conflict from October 4-15, 2021. The
17   schedule below accommodates that conflict. However, to the extent the Court
18   imposes changes to the stipulated calendar, NIC requests that those changes not
19   impose a conflict with NIC counsel’s obligations in early October 2021.
20         The parties hereby stipulate to the following schedule of dates and events:
21
22                   Event                                   Proposed Date
23
24    Jury Trial                                     On or after November 1, 2021
25
26
                                                           September 27, 2021
27
      Final Pretrial Conference (PTC)                [at least 4 weeks before trial]
28


                                STIPULATED JOINT TRIAL SCHEDULE
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     Case 8:15-cv-02034-JVS-JCG Document 1088 Filed 01/08/21 Page 3 of 7 Page ID
                                     #:72611



1                   Event                                  Proposed Date
2
3    Deadline for Mediation/Settlement                        June 7, 2021
     Conference                                     [at least 140 days before trial]
4
5
6    Law and Motion Cut-Off (Fed. R.                         May 24, 2021
     Civ. P. 56)                                   [at least 120 days prior to trial]
7
8
9    Deadline for L.R. Rule 16-2                           August 16, 2021
     Meeting of Counsel                            [at least 40 days prior to PTC]
10
11
12                                                        August 16, 2021
     Motions in limine
13
                                                 [concurrent with L.R 16-2 deadline]

14
15   L.R. Rule 16-3 Disclosure of                        September 27, 2021
16   Graphics/Illustrations                              [on or before PTC]

17
18   L.R. Rule 16-4 Memo of                                August 30, 2021
19   Contentions of Law and Fact                    [at least 28 days before PTC]
20
21   L.R. Rule 16-5 Exchange of                           August 30, 2021
22   Witness Lists                                [concurrent with LR 16-4 Memo]
23
24
                                                          August 30, 2021
     L.R. 16-6.1 Joint Exhibit List
25                                                [concurrent with LR 16-4 Memo]
26
27
     L.R. 16-7.1 Submission of Final                     September 16, 2021
28   Pretrial Order                                     [11 days before PTC]

                              STIPULATED JOINT TRIAL SCHEDULE
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     Case 8:15-cv-02034-JVS-JCG Document 1088 Filed 01/08/21 Page 4 of 7 Page ID
                                     #:72612



1                   Event                               Proposed Date
2
3                                                       October 18, 2021
     L.R. 16-10 Trial Brief
                                                      [14 days before trial]
4
5
6
     DATED: January 8, 2021.               Respectfully submitted,
7
8    FOR PLAINTIFF NATURAL                  FOR DEFENDANTS NTG AND SCOTT
     IMMUNOGENICS CORP.                     FERRELL
9
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     Attorneys for Plaintiff Natural-       Group PC and Scott Ferrell,
15   Immunogenics
16
17
     FOR THE NON-NTG                        FOR THE ATTORNEY DEFENDANTS
18   DEFENDANTS

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     Giovanni Sandoval, Taylor              Attorney for Ryan Ferrell, Victoria C.
25   Demulder, and Matthew Dronkers         Knowles, David Reid, and Andrew Lee
                                            Baslow
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                              STIPULATED JOINT TRIAL SCHEDULE
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     Case 8:15-cv-02034-JVS-JCG Document 1088 Filed 01/08/21 Page 5 of 7 Page ID
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2     FOR DEFENDANTS REID AND
      KNOWLES
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8     Knowles
9
10
11
     Attestation pursuant to L.R. 5-4.3.4(a)(2)(i) regarding signatures: I, Peter A.
12   Arhangelsky, attest that all other signatures listed, and on whose behalf this filing
     is submitted, concur in the filing’s content and have authorized the filing.
13
14
15
     DATED: January 8, 2021.                        EMORD & ASSOCIATES, P.C.
16
17
                                             By:    /s/ Peter A. Arhangelsky
                                                    Peter Arhangelsky
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                                STIPULATED JOINT TRIAL SCHEDULE
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     Case 8:15-cv-02034-JVS-JCG Document 1088 Filed 01/08/21 Page 6 of 7 Page ID
                                     #:72614



1                            CERTIFICATE OF SERVICE
2         I hereby certify that on January 8, 2021, the foregoing, STIPULATED
3    JOINT TRIAL SCHEDULE was electronically filed via email to the Special
4    Master and sent via email to the following:
5
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25        Attorneys for Ryan Ferrell, Victoria Knowles, David Reid, and Andrew
          Baslow
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                              STIPULATED JOINT TRIAL SCHEDULE
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     Case 8:15-cv-02034-JVS-JCG Document 1088 Filed 01/08/21 Page 7 of 7 Page ID
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7                                        /s/ Peter A. Arhangelsky
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                            STIPULATED JOINT TRIAL SCHEDULE
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